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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
SLR:LDM:CSK                                         271 Cadman Plaza East
F. #2014R00501                                      Brooklyn, New York 11201



                                                    June 29, 2018

By Hand and ECF
The Honorable Kiyo A. Matsumoto
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Martin Shkreli, Ancillary Proceeding;
                      Criminal Action No. 15-CR-637 (S-1)(KAM)


Dear Judge Matsumoto:

               The United States respectfully writes to advise the Court that it has reached a
resolution of the third-party petitions filed in the ancillary proceeding in the referenced
matter by the New York State Attorney General (“NYS-AG”) and the U.S. Department of
Treasury, Internal Revenue Service (“IRS”). The United States has circulated, and the NYS-
AG and the IRS are currently reviewing, a Stipulation of Settlement memorializing the terms
of the resolution, along and an accompanying proposed Final Order of Forfeiture.

                To allow the parties additional time to complete their review and proceed with
executing the Stipulation, the United States, along with the NYS-AG and IRS, jointly request
that all deadlines in this matter be extended to and including July 13, 2018. By that date, the
parties anticipate that they will be able to submit the executed Stipulation and proposed Final
Order of Forfeiture for the Court’s approval, thereby avoiding the need for any further
litigation in the ancillary proceeding. This is the third request to extend the original deadline
to respond to the NYS-AG’s petition, and the second requested extension since the IRS filed
its petition.
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             We thank the Court for its consideration of this request, and apologize that it
was not submitted earlier due to the parties’ on-going discussions as to how to proceed.

                                                  Respectfully submitted,


                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                           By:    Laura D. Mantell
                                                  Laura D. Mantell
                                                  Claire S. Kedeshian
                                                  Assistant U.S. Attorney
                                                  (718) 254-6253/6051

cc: (via ECF) All Counsel of Record




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